In This Issue About Us Contact Resources

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A Heartland Review Feature

One or Two Things | Know About Us:
Rethinking the Image and Role of the Oakies

cont'd

by Roxanne Dunbar-Ortiz

Conservatives loved it. Hailing its flag-waving slams at hippies,
draft-dodgers, and campus radicals, President Nixon sent hima ;
letter of congratulations. George Wallace thought it captured
perfectly the message he had been trying to send to Washington
and asked Haggard to sign on for the governor's ongoing
presidential campaign. But the performer did not need

politicians. The press was already proclaiming him a working-
class hero, The poet laureate of the hard hats.’ Haggard had
already won the hearts of his fellow Okies with populist hits

about prison and running from the law, such as ‘Mama
Tried,'based on his own experience. But even before the fame of
‘Okie fram Muskagee,'; Haggard had become more openly right-
wing, contrasting the 'work-ethic' with weifare in '| Take a Lot of
Pride in What | Am’ and ‘Working Man's Blues.': 'Okie from
Muskogee’; was followed by the mean-spirited patriotic ballad,
‘The Fighting Side of Me’

At the same time Haggard had begun to write about his Okie
heritage, raising issues and questions that had been out of the
public eye for two decades. 'Hungry Eyes'(1969) was the first of
Haggard';s autobiographical Dust Bowl ballads: he sings about
being raised in A canvas-covered cabin, in a crowded labor
camp,'where he soon learned that ‘another class of people put

us somewhere just below-One more reason for my mama's
hungry eyes.’

Other Haggard sangs pursued the theme: 'California Cotton
Fields’; ‘Tulare Dust,"They're Tearing the Labor Camps Down,';
‘The Roots of My Raising.' Haggard’s songs, Gregory argues,
‘broke open the reservoir of group pride and laid the foundation
for a renaissance in group consciousness that became
especially noticeable in the 1970s.' Newspaper and magazine
articles on Dust Bowl Okies appeared. In the midst of demands
for Ethnic Studies programs, some California Valley colleges

experimented with Okie Studies. Now in his mid-fifties, Haggard, — EXHIBIT
the most famous of the second generation of famed Okie | 3
songwriters and performers, was a schoolmate with writer Gerald | 3 Ss 5

Hastam in the Okie town of Oildale, and they have remained

friends over the years. Carey McWilliams described Haslam's
stories in Okies as ';Country music set to prose.'

http://www.heartlandreview.net/2003/Q1/dbo3.htm 12/6/2004
Gerald Haslam was a part of the literary generation that emerged:
during the 1960s, writers of the U.S. West who began articulating:

a literary genre, owing much to Wallace Stegner's Stanford

writing workshop. Texan Larry McMurty and Okie-Oregonian Ken:

Kesey were the most acclaimed among the new writers.
Although Kesey's characters and settings, particularly in
Sometimes a Great Notion, reflect the Southwest migrant sub-
culture, he has never romanticized or emphasized his heritage.

Similarly, Leonard Gardner's Fat City is set in the boxing world of:

Stockton, California, without specifying Okies as such. Some of
the work of California writer, James D. Houston, whose father

hailed from Oklahoma, explores themes of the Okie sub-culture

including Native Son of the Golden West (1971), which enters
the world of evangelical religion within which Houston grew up,
and The Men in My Life.

But it is Gerald Haslam who has made the Okie explicit in his
fiction and non-fiction. Haslam describes himself as ‘sa fifth-
generation Californian,’ with a father from Texas and a native
Californian mother. He sets many of his stories in his hometown

of Oildale which is in Kern County near Bakersfield and home to -

the largest California Okie community. In 1975, Haslam
published his first collection of short stories, Okies, and the
following year Masks: A Novel, also featuring Okies and set in
Oildale, appeared. Haslam and Houston co-edited California
Heartland: Writing from the Great Central Valley (1978), a

multiethnic collection which includes Okie poet, Wilma Elizabeth

McDaniel, and short story writer, DeWayne Rail, as well as a
story by Leonard Gardner and excerpts from Haslam and
Houston's own work.

All the Okie writers explore the dual themes of salvation and sin
that permeate the Okie sub-culture: Gregory describes ‘a
community split between two poles, oriented on the one hand
around stern-minded religiosity and on the other hand around
hard-drinking irreverence—a community of churches and
saloons, of churchgoers and good old boys.’

Haslam's work radically departs from a stance of white
supremacy by including Mexicans, Chinese, Blacks, and Native
Americans in his stories as well as promoting writers from those
groups in his collections of California writing. Yet he does not
Stray far from the Okie mythology and explicitly defends its
sources. ‘California Christmas' is a first-person coming of age
story of the early days of migrant life in the San Joaquin Valley.
‘Things was powerful hard that first winter after we come to
California.’ The boy tells of the family searching for work, the
unending sun broken only by thick gray fog, sickness, broken
down vehicles, no clothes or shoes to go to school. Trying to
pool their resources to make a Christmas celebration, the

camped famities are Interrupted by the sheriff who turns out to be

friendly.

The resolution to their dilemma is expressed by an older man:
‘These ain't bad folks out here. They're just skeered, skeered as
they can be. They figure we might get their jobs, see.'Christian
forgiveness prevails.

http://www.heartlandreview.net/2003/Q1/dbo3.htm

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Haslam continues the theme of Christian virtue in ‘Sally Let Her -
Bangs Hang Down.'The narrator, a country singer, falls in love
with a ‘fallen woman’ who parties and has slept around. He is
nearly destroyed by his obsession with the woman, nearly

ruining his career and sick with ulcers. Then he finds Jesus and ~
identifies his woman with Mary Magdalene. He converts her and
they abandon the honky-tonk life for gospel music, finding
happiness, peace, and even wealth when he hits the country
charts with his recording of 'What a Friend i Have in Jesus."

Another theme that pervades Haslam's fiction, fist-fighting and
violence, is introduced in 'Cowboys.'Two oil field workers, one an
Okie and one a slumming, long-haired college boy dressed in
cowboy oulfit, clash, and, of course, the Okie wins. The theme of |
toughness is found also in ‘Before Dishonor,’ An Okie just out of
Marine boot camp acquires a 'Death Before Dishonor tattoo
which becomes a permanent challenge to all comers. He loses
most of his fights, but he consoles himself: ';She's a rough ol life,
but you got to take her like she comes...Well at least | ain't been
killed yet.'

Haslam's second publication, a novel, Masks, is more
autobiographical. An Okie professor in the Bay Area, as Haslam
is, returns to his hometown of Cildale to tend to his ailing mother. :
He has to fight the racist objections of his sisters to have his
mother treated by his old school buddy, a Chicano, now a

doctor. However, the mother suffers a fatal heart attack, with the |
Chicano doctor, and the citified professor blamed by family and
neighbors. Masks thus confronts Okie racism, albeit somewhat
idealistically. Haslam's Chicano doctor, victim of prejudice,

agrees with the professor that '! think people here are the real
revolutionaries, not those nuts | read about up in the bay
area... Those chingasos up there pick huge, abstract causes they —
can't win because, ese, they don't want to win;...Down here, they |
win.'The Chicano character believes the Okies care about the
minorities because they live in the same place and have to work :
things out. The professor agrees and says that he has no

respect for campus free speech advocates who hooted down
everyone they disagreed with.’ Momentarily, the professor feels
alienated from both the City and the Valley; he has become ‘a
man without a country.’ Yet he leaves with new clarity and
connectedness.

Throughout his work, Haslam tackles, with the same maddening |
ambivalence | feel, the racism in the Okie community he so loves |
and admires. ‘| abhor the racism and xenophobia of my home
area, and have said so in print often enough to have earned
myself a few beefs when home...But | nonetheless prefer the
frontal approach to life, the lack of trendiness, and the potential
for effective change | find in Kern County.’

In later Haslam stories, typical contemporary Okie characters
appear—country singers, brawlers, preachers, truckers,
matriarchs, and whores--along with Mexicans, Blacks, Native
Americans, relocated Japanese-Americans, who are portrayed
respectfully in all their complexity and contradictions. Okies
never prevail in their racism but do overcome city-slickers.

http://www. heartlandreview.net/2003/Q1/dbo3.htm 12/6/2004
In Haslam's 1983 collection, Hawk Fights, the story ‘Hey, Okie’;
portrays a veteran of the Dust Bowl being interviewed by a
professor who pretends to be an expert on the working class.
The old Okie rails against FDR, blaming the New Deai for the

farmers’ eviction from their Oklahoma soil, claims never to have :

heard of Woody Guthrie, and brags about scabbing on trade

unionists, confusing and humbling the professor. Haslam seems

to project an insider/outsider dichotomy which unites the rural

poor and condemns all city slickers' including union organizers,

professors, students, and radicals.

Although a major theme in Haslam's fiction is violence, he avoids:

the question of guns in his fiction (except for hunting) and the
Okie oral history of gun-fighting heroes. This is particularly
surprising since Haslam's first work, written as a graduate

student and later published, was on Jack Schaefer, the author of

Shane upon which the block-buster Fifties gun-fighting movie
was based. By avoiding the fascination with guns, Haslam
negiects the attraction Okies have for militarism, regular and
irregular--from the Minutemen, the right-wing terrorists formed
mainly among Okies in the San Bernardino Valley during the

Fifties, to the Marines, Even today, hundreds of gun shows take .

place up and down the valleys of California (and throughout the
Southwest) every weekend, packed with Okies talking, selling,
and buying guns.

Haslam has dealt with Okie gun craziness in his non-fiction. He

wrote about the armed white supremacist 'Possee Comitatus' in

the agricultural valleys of California in 1975 for The Nation. The
Posse was founded in Portland, Oregon, in 1969, by Henry
Beach, who had been a member of the Silver Shirts, a Nazi-

inspired Hitler-support organization. For six years the group was —

little known until the FBI in Little Rock, Arkansas, received
information about a piot to assassinate then vice-president

Nelson Rockefeller because he was a 'Money Czar.’ These white
supremacist groups believe that the Rockefellers are closet Jews :

because ali bankers are Jews and that the Federal Reserve and
the tax system are controlled by an international Jewish

conspiracy. Seventy-eight Posse chapters in twenty-three states

were identified. In 1983, the North Dakota Posses, resisting
subpoenas for federal income tax evasion, fatally shot two
federal marshals. In hunting down the main fugitive, the FBI
uncovered huge arsenals in Arkansas. The group still flourishes
along with other similar ones.

Haslam was sympathetic with the frustration that drove this
group, however misguided their views. Because ‘unenlightened
indictments so promiscuously mouthed by some liberal elitists

have served to separate many poor whites from any possibility of

a broader-based movement...they return to older, often ugly
patterns of organization.’ The success of the posse, he argued,
‘should lead the rest of us to a serious re-examination of the
forces that have produced such vigilante activities. If we don't,
our judgments become as shallow as many of theirs.’; But
Haslam dee not define the ';forces' which he alludes.

in another 1975 Nation article, Haslam wrote of a near lynching
by Okie young men of black athletes at the local junior college in

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nearly all white, Okie populated town of Taft, California. Again
Haslam skirts the issue of white supremacy and violence:
‘Precisely because they had isolated themselves from

nonwhites, many residents of Taft were poorly prepared for the
rise in black pride and consciousness during the 1960s. Their
ignorance of blacks easily festered into fear and hate.’ Haslam
concedes that 'Taft has carried the cross of its Ku Klux Klan past -
even among its tainted neighbors. ,

Okies and other Southwestern whites commonly address the
question of racism in terms of ‘ignorance of blacks' of 'not
knowing them.’ But, a part of Haslam's avoidance or justification
for Okie attraction to violence may be explained by his righteous _
sense of mission to correct the negative stereotypes about Okies |
that pervaded the Central Valley during the starving time when —
he was growing up in a more privileged position than the children :
of Okie migrants. Discrimination against Okies was fierce
throughout California. Even in 1960, when | moved to the state
from Oklahoma, my accent and license plate were cause for
abuse. Haslam argues: Another common charge was that Okies
were lawless. This grew in part because the newcomers refused
to be pushed around and were quick to throw punches if
insulted. In another limited, memorable sense--beyond the
predictable, poverty-related crime--it was true. There had
developed before the migration a Robin Hood syndrome that
grew in part from the frontiersmen's distrust of institution and in
part from the Anglo-Saxon tradition of honorable outlaws. Acting -
outside the law was one recourse otherwise powerless people
had in the face of what they considered an unjust system.
Haslam, although admirably anti-racist, consistently defends the |
Okies, challenging the negative stereotypes while perpetuating
the positive myths. Writing of the Thirties migrants, he echoes
Steinbeck: ‘So strong was the nesting instinct that it was not
uncommon for an Okie family to establish residence even while
the father, and often the mother too, continued following crops
until a stable job could be found. The family came first--
especially the children...'

In a departure from the main themes of the Okie myth, Dan :
Morgan's Rising in the West: The True Story of an CEOkie'Family
from the Great Depression Through the Reagan Years finks the |
Okie migration to the rise of Reagan, Nixon, Goldwater,

politicized Protestant fundamentalism, and the anti-abortion
movement. Morgan focuses on Oca Tatum and his family. He
traces their migration from Oklahoma to the California fruit fields
to suburban prosperity with success in agribusiness, the defense
industry, real-estate development, nursing home chains, and
football franchises. What is valuable and unusual in Morgan's
case study, although written in an annoying folksy style and
reading like an admiring ‘authorized’ biography at times, is his
emphasis on the Christian fundamentalism of the Tatum':s and
their deep involvement with the movement that gave rise to the
religious right and Reaganism. Tatum, and his money, were tied
to Oklahoma evangelist, Oral Roberts, to Jerry Falwell, Jimmy
Swaggart, Pat Robinson, and the ‘Moral Majority’ Anti-abortion,
anti-union, anti-affirmative action, anti-immigrant, and pro-
militarist, pro-law and order, pro- family values’ Tatum was a

major funder for the movement that sought to do to Sixties
consciousness what the McCarthy era did to the Thirties.

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Gregory identifies religion as a major obstacle to unionization of
the Okie migrants. Okies brought evangelical and charismatic
religion with them to California. 'Many of these churches
belonged to Pentecostal or Holiness sects that taught that all
forms of political action were wrong because they distracted from:
the pursuit of individual salvation’

Although in The Grapes of Wrath, Steinbeck made his preacher- |
character a militant trade unionist who led the people in that
direction, such evangelists actually had become rare by the
1930s. During the Wobbly and Socialist era before World War I,
evangelists had preached radicalism from their pulpits but the
anti-communist campaign of the federal government and gains
by the KKK transformed their message. Fundamentalism
became inseparable from patriotism, white supremacy, and anti- ;
communism, as it is today, providing an important channel for
propagating bigotry.

Historian James Gregory writes:

Ultimately, the Okie is an invention, a work of collective
imagination. Over the last half century, pieces of group identity
have been assembled from many sources; from shared traumas |
of the Depression era, from ancestral legend, from popular
media, from Steinbeck, Lange, and Haggard. And those pieces
generally have less to do with symbols of regionalism than with
Americanism.

Gregory limits his excellent study of the Okie migration and their :
fate in California to their exodus from the Southwest to the
Promised Land of California. Yet that trek was a continuation of
an historical process that began in the British Isles in the
seventeenth century when British-colonized Scots were tapped
as a permanent settier colony, first to northern Ireland, and then
to the British colonies in North America.

Gregory, Morgan, Hastam, and other observers point out that the
Okie world view has spread through politics, religion and culture, .
but they do not link Okie/Ulster-Scots mythology and ideology
with imperialism, or 'empire as a way of life,'as William Appieman :
Williams phrased it.

Okies are the latter-day carriers of the national origin myth, a
matrix of stories that justify conquest and settlement,

transforming the white settler (explorer, hunter, pioneer,
frontiersman, ‘the man who knows Indian! into an indigenous
people who believe they are the true natives of the continent,
much as the Afrikaners regard themselves. Furthermore, this
narrative, essentially that of The Last of the Mohicans, must
remain intact for the continuation of the particular ideology that
supports and refuels white supremacy, American exceptionalism
and U.S. imperialism. ,

The promise of land or gold, oil, uranium strikes, and adventure
provided the pull factor for the westward movement, and land

foreclosures, failed crops, and lack of capital in Europe and the
British colonies, and later the takeover of acquired land by U.S.

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corporations provided the push factor. A few along the way, like —
Morgan's Oca Tatum, or Merle Haggard, did strike it rich. For the:
rest, white supremacy has been a bone to throw to the Okie
dogs, their reward, also essential to maintenance of the system. -
White supremacy works internally mainly in relation to blacks

and other minorities and immigrants in the United States, but
also globally in relation to the Third World. Militarism is
necessary to maintain the corporate capitalist ruling class so
imperialism must be reproduced in a defensible popular form.

But the problem with understanding the mercurial Okies does not!
lie only with Steinbeck-to-Haslam literature, rather U.S.
storytelling in general, whether fiction or history. As the late
historian, William Appleman Williams, noted, 'We
Americans...have produced very, very few anti-imperialists. Our
idiom has been empire, and so the primary division was and
remains between the soft and the hard.’

American writers and historians would do well to look to South
African Afrikaner writers, particularly Andre Brink's An Act of
Terror and Rian Malan's My Traitor’s Heart, to better understand |
the culture of imperialism as preserved by the manipulation of its
core settlers who have a big investment and stake in it--their
entire identity as a people.

Like Rian Malan telling the secrets of his kin, the Afrikaners, |

feel like a traitor writing what | know about US, especially
because the prejudice and discrimination against poor whites,

like all poor people in the U.S., continues unabated. Recently, |
attended a Berkeley gathering of writers that featured a ‘cowboy -
poet’ from the ‘Pacific Northwest.'l was certain that I'd be
encountering an Okie, but to my surprise this ‘cowboy poet’ was

a thirty-something, slick operator and stand-up comic who knew
nothing of cowboy history. He told me that his family had come
‘two generations ago’ from Russia and invested in iand along

the Columbia River. When | told him | was writing about Okies,

he said, 'Okies and Arkies, sure, they came around and worked
for my dad-dirty, ignorant people.’

| cannot help but think of another time, a time when the people |
come from almost became a revolutionary force, a time when
white Supremacy nearly was shed, and the KKK was considered
to be a tool of the enemy, when militarism was reviled and
internationalism embraced. The people | come from, who
sacrificed and struggled to the death, supported Eugene Debs,
who stated in 1915:

When | say | am opposed to war | mean ruling class war, for the
ruling class is the only class that makes war...I would be shot for
treason before | would enter such a war... have no country to
fight for; my country is the earth; | am a citizen of the world...| am -
opposed to every war but one; | am for that war with heart and
soul, and that is the world- wide war of the social revolution. In
that war | am prepared to fight in any way the ruling class may
make necessary, even to the barricades.

| marvel that my own grandfather, a classic product of the
westward trek and the national origin story, and so many others

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like him, voted, over a period of two decades, five times for Debs
for president.

Editor's Note: In 1968, Roxanne Dunbar-Ortiz became a

founding member of the early women's liberation
movement, Along with a smail group of dedicated
women, she produced the seminal journal! series, No
More Fun and Games.

Dunbar-Ortiz was also a dedicated anti-war activist and

organizer throughout the 1960s and 1970s. During the war years.

she was a fiery, indefatigable public speaker on issues of
patriarchy, capitalism, imperialism, and racism. She worked in
Cuba with the Venceremos Brigade and formed associations
with other revolutionaries across the spectrum of radical and
underground politics, including the SDS, the Weather
Underground, the Revolutionary Union, and the African National -
Congress. But unlike the majority of those in the New Left,
Dunbar-Ortiz grew up poor, female, and part-indian in rural

Oklahoma, and she often found herself at odds not only with the -

ruling class but also with the Left and with the women's
movement,

Roxanne Dunbar-Ortiz is a historian and professor in the
Department of Ethnic Studies at California State University,
Hayward. She is the author of Red Dirt: Growing Up Okie
(Verso), The Great Sioux Nation, and Roots of Resistance,

among other books. In mid-2002 we published the epilogue |

to her book, Qutlaw Woman: A Memoir of the War Years,
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You can fearn more about her at her website.
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In This Issue About Us Contact Resources

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A Heartland Review Feature

One or Two Things | Know About Us:
Rethinking the Image and Role of the Oakies

cont'd
by Roxanne Dunbar-Ortiz

It was in this spirited, politically-charged atmosphere that John
Steinbeck published The Grapes of Wrath in 1939. The blockbuster
novel, together with the 1940 epic film of The Grapes of Wrath,
etched a picture of the Okies in the minds of a whole generation,
and for those who have come since, represents not fiction, but
truth.

The socialist sentiment of the pre-World War | period profoundly
affected many of the next generation of Oklahomans, Will Rogers
being the best known exponent. Their brand of socialism was
frontier populism which never addressed white supremacy. As a
young man, Will Rogers worked on cattle ranches in South Africa ini
1903, just after the Boer War. He greatly admired the tough Boers °
who seemed to him exactly like his own rural folk back in eastern
Oklahoma. He was contemptuous of the indigenous black Africans .
and of the British defeat of the Boers. U.S. Historian Michael
Kammen observes the similarity of the U.S. and South African Boer:
use of symbols and myth: 'The Afrikaners depended heavily upon a.
cluster of historical myths in order to rationalize their repressive
hegemony and policy of racial separation. The vital elements within
that cluster involve a Great Trek to the interior made by Boers in
1838 in order to achieve autonomy from the British in their own
promised land.’ Historian George Frederickson pursues the
comparison in depth, stating that 'The basis...is the common fact of :
a long and often violent struggle for territorial supremacy between
white invaders and indigenous peoples.

As a celebrated political and social satirist in the 1920s and 1930s,
Will Rogers became a leftist-populist. Woody Guthrie followed in
Rogers’ wake. During the mid-1930s, Guthrie hoboed to California
as the troubadour of the Dust Bowl migrants. He wrote ballads
honoring the Oklahoma outlaws hounded and killed by the FBI,
such as Pretty Boy Floyd. But he also wrote of Jesse James,
comparing him to Jesus Christ. Jesse James, his brother Frank,

and the Younger Brothers who together made up the train and bank.
robbing ‘James Gang,’ were Confederate irregulars who continued |
their own war against the Union after the Civil War ended.

Guthrie sang the rural Oklahoma oral tradition in apolitical songs he
made famous like 'Hard Travelin’,' So Long, It Been Good to Know

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You,' and especially 'This Land is Your Land.' Being unreligious and
anti-establishment, Guthrie wrote 'This Land’ to counteract the top ;
hit at the time, Irving Berlin's, 'God Bless America.’ Guthrie's
biographer, Joe Klein notes: 'No piece of music had bothered him
so much...’God Bless America,’ indeed--it was just another of those
songs that told people not to worry, that God was in the driver's
seat.’

In Los Angeles Guthrie met Communist Party organizers who
adopted him and made him famous by the association. Al
Richmond, editor of the Communist Party newspaper wrote in his
autobiography, * ran into this young hillbilly singer from Oklahoma,
who turned out to be socially conscious (in a favorite phrase of that
era), and accepted an invitation to perform at several Left events.’
Guthrie offered to write a column for the paper, but 'being
suspicious of folksiness and words misspelled for comic effect, |
wondered at first: is this columnist phony or genuine? Richmond
met him and found him to be 'a man in his late twenties, slender
and wiry, a wild mop of hair and a beard. He might have been
called a hippie in later years, except that his Oklahoma speech was
authentic and so was his familiarity with the folkways of the open
road as it was traveled by uprooted farmers and migratory workers,
He was genuine.’

In attracting someone like Woody Guthrie, and involving thousands:
of Okie migrants in strikes and elections, leftist organizers and :
artists may have been reinforced in believing that Americanism had
done the trick. Actually, the Americanism created deep cultural and:
political contradictions which would make the Communist Party and
its ‘fellow travelers' vulnerable to the witch-hunts to come. Even
worse, the consciousness of the 'masses' as democratic
imperialists was reinforced.

The decade of the 1930s was the period of the ‘Popular Front
against Fascism’ organized by the Communist International. The
U.S. Communist Party thrived when it spread out and unified with |
other groups. One of their tactics, which remained a signature of
the Party, was its attempt to 'Americanize’ the party: ‘Communism
is twentieth century Americanism' was the new party slogan as it
displayed American flags and replaced the 'Internationale' with 'The
Star-Spangled Banner,’ and elevated the U.S. 'founding fathers’ to ©
equal status with Marx and Lenin. (The U.S. volunteers to Spain
named their brigades after George Washington and Abraham
Lincoln, not after John Brown, Big Bill Haywood, Eugene Debs,
Mother Jones, Nat Turner, Frances Wright, or Crazyhorse.)

I
Richard Slotkin perceptively observes that the Popular Front drew |
on the same ideology of American exceptionalism that ‘had
traditionally informed the rhetoric of conservatives and isolationists,
who had used it to discredit the radical critiques of American
society developed by the Left.’

During the same period, William Faulkner's Absalom, Absalom
romanticized the South by contextualizing plantation culture in a
legend of wilderness conquest, while Go Down, Moses redefined
the Frontier Myth in southern terms. Carl Sandburg's best-selling
biography of Abraham Lincoln portrayed him as the hero of western:
folklore. And in Mainland (1936), Gilbert Seldes created a ‘left-

http://www. heartlandreview.net/2003/Q1/dbo2.htm , 12/6/2004
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Turerism’ which emphasized the Frontier as an indigenous
American radical tradition, drawing on the Whiskey Rebellion,
Jeffersonian agrarianism, Jacksonian leveling, John Brown anti-
slavery and Lincoln Republicanism, Populism, and the radical
unionism of the WW. The Grapes of Wrath drew on the same
myths by identifying the wanderings of the Joads with images of
covered wagons heading west.

John Steinbeck published The Grapes of Wrath in 1939. The
blockbuster novel, together with the 1940 epic film based on the
book, etched an indelible picture of the Okies in the minds of a
whole generation. For them and for those who have come since,
the book represents not fiction, but truth. Steinbeck was already a
celebrity when he published The Grapes of Wrath due to his 1935
best-seller Tortilla Flat. After meeting Tom Collins, an organizer for.
the Communist Party's Cannery and Agricultural Workers Industrial
Union, he published In Dubious Battle. The book, although
sympathetic to the Okie farm workers, portrays the Communist
organizers as cold manipulators. Despite this, the Party sang
Steinbeck's praises.

The writer began research for what would become The Grapes of °
Wrath in the Federal Resettlement Administration's facility for
migrants in Arvin, California, the Weedpatch Camp. Steinbeck
never spent any time in Oklahoma--he drove through on Route 66 .
once--but he was a keen observer and listener, and absorbed the
seif-perceptions of the Okie migrants, their own idealization of
themselves and their dreams of more free land, more empire. The
Grapes of Wrath was fueled with myth, but Steinbeck did not creaté
the myth; he merely reported and dramatized it in a monumental
work of fiction.

Meanwhile, Steinbeck published a series of impassioned articles on
the farm Workers’ plight, 'The Harvest Gypsies,’ which appeared in’
the pro-labor San Francisco daity News in October 1936. Steinbeck
‘viewed the migrants as displaced Jeffersonian yeomen who
needed and deserved their own small plots of land,’ Charles
Wollenberg observes. ‘Unfortunately, this ran counter to the whole :
direction of California agricultural history. The state's rural economy
had never been dominated by small, Jeffersonian yeomen.' Yet the
ideology of the promise of land did reflect the Okie mythology. Like
the Boers in South Africa, the Okies believed that their suffering
was for a cause, mixing Christian fundamentalism with grass-roots .
patriotism. And as with the Boers and their sense of ‘protecting’
South Africa, the Okie ideology has prevailed in the United States
as ‘defenders’ of the country. :

The Dust Bowl migration to the California fields largely displaced
Asian and Mexican labor from the farm labor force. Steinbeck
hailed this change: ‘Farm labor in California will be white labor, it -
will be American labor, and it will insist on a standard of living much:
higher than that which was accorded the foreign ‘cheap labor.’ A
subsequent writer on the Okies, Gerald Haslam came to a different
conclusion about the significance of the Dust Bow! migration for
California agriculture: ‘The final effect of the Okies coming was to
impede the unionization of farm labor.'

Steinbeck's 1936 articles about the 'Harvest Gypsies' were

http://www. heartlandreview.net/2003/Q1/dbo2.htm 2 12/6/2004

collected and published in 1938 as Their Blood is Strong. He |
stressed the racial superiority of the migrants, writing that ‘They
have weathered the thing, and they can weather much more for
their blood is strong.’ He portrayed Okies as pre-industrial and
deeply democratic: In their heads, as they move wearily from
harvest to harvest, there is one urge and one overwhelming need, .
to acquire a little land again, and to settle on it and stop their
wandering...

Having been brought up in the prairies where industrialization never
penetrated, they have jumped with no transition from the old ,
agrarian, self-containing farm where nearly everything used was
taised or manufactured, to a system of agriculture so industrialized:
that the man who plants a crop does not often see, let alone
harvest, the fruit of his planting, where the migrant has no contact .
with the growing cycle.

And there is another difference between their old life and the new.
They have come from the little farm districts where democracy was.
not only possible but inevitable, where popular government,
whether practiced in the Grange, in church organization or in local -
government, was the responsibility of every man.

But the Okies were hardly innocent of industrialization since the
whole area of the Southwest where they came from had long been.
one vast oil field and refinery, along with cotton and wheat cash
crops and mines. Even more romantic is Steinbeck's portrayal of
Town-Hall democracy, when what they had experienced in the ‘old
life’ powerlessness under the boots of ‘elected’ gangster rings
robbing the public coffers. Dan Morgan described the reality of
eastern Oklahoma in the early twentieth century: ‘a kind of third
world republic, fabulously rich in resources, but corrupt, dangerous,
and sorely lacking in well-functioning institutions.’ It was
characterized by ‘a reliance on foreign capital, volatile prices of the
commodities in the ground or grown above it, a floating rural
proletariat, wild land speculation, serious health problems related to
industrial pollution, a scarcity of medical services, tremendous
extremes of wealth and poverty, bouts of martial law, and death
and terror squads of several political persuasions.’ Rural workers
and their families 'tramped between mine, smelter, refinery, and
farm as the fortunes of some commodity rose and fell according to
the vagaries of the world economy.

Assessing the impact of The Grapes of Wrath at the time and on
future generations is as difficult as with Gone With the Wind. The
publication of The Grapes of Wrath was the biggest literary event of
the decade: 'No American novel published in this century has
aroused such a storm...Viking shipped out 430,000 copies by the
end of the year...Perhaps it spoke to the concern with how the parts:
of America fit into the whole.’ In 1982, the New York Times reported
that it was the second best-selling novel ever in paperback in the
United States having sold nearly fifteen million copies. White
supremacy was a major element in the wide appeal of The Grapes .
of Wrath and Okie mythology, both on the popular level—a sort of
poor white Gone With the Wind--and on the Left as a working class
novel,

Without allowing the question of racism to be debated, the

http://www. heartlandreview.net/2003/Q1 /dbo2.htm

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12/6/2004
Communist Party operated on a dual track in organizing poor
whites and poor blacks, even for a time supporting the idea of a
separate Black Nation in the South. The strategy of the Party was
to bring Black and White together in mutual respect and alliances
for common goals. Woody Guthrie and his black counterpart, :
Huddie Ledbetter 'Leadbelly'), a Louisiana sharecropper and ex-
con ‘discovered’ by the Party, were the perfect bookends for this
vision.

Leadbelly's hits included 'Goodnight Irene,'; ‘Midnight Special,"The:
Rock Island Line,'; mostly in the form of covers by other singers,
especially the Party's own Pete Seeger. Seeger and the Weavers’:
Goodnight Irene’; broke all sales records when it was released in|
1950. Three years later the singing group was blacklisted and
impoverished. Okies loved the song and had no idea it had been
written by a black man, much less recorded by Communists--my
father still does not believe it--yet no one phrase expresses the
Okie philosophy as well as its refrain: ‘Sometimes | live in the
country,/Sometimes | live in the town;/Sometimes | get a great :
notion/To jump into the river an’ drown.' (Ken Kesey took the title of
his second novel, about Okie loggers in Oregon, Sometimes a
Great Notion, from ‘Goodnight Irene.’

Yet the appearance of Communist-led Okie radicalism was
deceptive. 'Even as many Southwesterners continued to use a
class-based terminology of the plain versus the powerful,’ James
Gregory writes, ‘more persuasive commitments to patriotism,
racism, toughness, and independence were pointing towards the
kind of conservative populism that George Wallace would articulate
three decades later.’

Dorothy Healey, a 1930s Communist union organizer of the migrant
workers, and later head of the Southern California region of the
Communist Party for two decades, tells in her memoir of the 1938
cotton strike in Kern County and celebrates, without reflection, the
militancy and solidarity of the Okie cotton pickers, hardly
mentioning that the strike was lost. In the following chapter, Healey
moves on to the anti-Nazi war time effort and never mentions the |
Okies again. It's a mystery what she may think of what happened to
them and their progeny.

Steinbeck moved on as well: after the film of The Grapes of Wrath
came out in 1940, and he won the Pulitzer Prize, he left his house
in Los Gatos and the migrants behind. Okie characters did not
appear in later Steinbeck work.

How did a people so filled with a populist and socialist tradition
come to form the most conservative constituencies in California—
those in the Central Valley, Ventura County, Orange County—
bringing characters like Richard Nixon and Ronald Reagan to state
and eventually national power? 'The patriotic fervor and

uncompromising repression of the war and Red Scare years [after

World War |] had begun the process,'Gregory argues. 'Next came
the nativist, fundamentalist, and moral reform crusades of the
1920s. The Ku Klux Klan attained for a time major influence in the
region, taking power in Texas and Arkansas and coming close in
Oklahoma."

http://www. heartlandreview.net/2003/Q1/dbo2.htm

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12/6/2004
Of course, deep-seated and historic white supremacy permeates
the culture and institutions of the United States. When the core
group of native white Americans, the very foot soldiers of empire, -
began turning socialist, the government acted swiftly, viciously and:
relentlessly to crush the movement. Also, powerful propaganda
accompanied repression. The D.W. Griffith film extolling the Ku
Klux Klan, ‘The Birth of a Nation’ appeared in 1915, and after the
Russian and Mexican Revolutions of 1918, red scare propaganda -
flooded airwaves, newspapers, and sermons. Okies were left with 4
recollection of hard times and hatred for big government and the
rich and powerful, and they fell back on the protection of their white
supremacy.

Reading left writers from the 1930s, i am struck by how out of touch
with the history of the United States they were, how caught up in itd
origin myth, how immersed in the culture of empire they were.
Edward Said's study, Culture and Imperialism makes a point about:
European imperial culture which applies to the United States as
well. Said argues that although the main battle of imperialism with
its indigenous inhabitants was over land, in debates over land
ownership, settlement, and plans for its future, narrative was
crucial. ';The power to narrate, or to block other narratives from
forming and emerging, is very important to culture and imperialism, :
and constitutes one of the main connections between them.'

In the populist and left narratives of the Thirties, economic
oppression and common cause were supposed automatically to
erase white supremacy, but they did not and have not yet. And
although the Left in the United States has long since abandoned
the Okies as an organizable group, it has continued to seek a
progressive white base, something akin to the quest for ‘the great _
white wonder' in boxing and other sports: Legitimacy in the United
States lies in whiteness. There is a widespread assumption in the |
United States, and particularly among Leftists, that white
supremacy is a ‘false ideology’ when found among workers and that
common struggle and familiarity can eradicate it. However, white:
supremacy appears to be much more than an ideology, or even a
privilege which produces a measure of advantage; rather it
manifests itself as a goal, as satisfying as material wealth, as
nationalism obviously is in other contexts. White supremacy in the -
United States is backed by the largest imperial economy and
military in human history, no small cause for ';pride.' Rather than
challenging the sources of white supremacy, that is, the very
narrative of the origins of the United States, current multiculturalism:
tends toward attempting to include non-whites in the traditional
narrative without altering it substantially.

Although Okie visibility in California waned for more than two
decades, it was revived in the late Sixties, for the Okies and their
offspring had not forgotten their identity or experience. Okie culture
has been memorialized and kept alive by a thriving country and
western music industry built in Bakersfield by Okie artists and
entrepreneurs, especially Buck Owen and Merle Haggard. Their
working man blues take on country music has come to challenge

the supremacy of Nashville as the country music capitol. During the:

1970s, Gerald Haslam, James Houston and other writers of

Southwestern descent began to form a literary sub-genre within the:
literature of the western United States. During the late 1960s, at the:

height of the youth, antiwar, and Black Power movements, young

http://www.heartlandreview.net/2003/Q1/dbo2.htm

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12/6/2004
white Appalachian migrants in Chicago and the children of Okie
migrants in Oregon formed 'The Young Patriots,'celebrating their
working class and populist roots. In 1989, a new generation was
introduced to The Grapes of Wrath, as its fiftieth anniversary was |
celebrated with new critical publications, Steinbeck's notebooks,
and new editions of the novel. Since that time several scholarly and
popular books have appeared--James Gregory's American Exodus;
Toby Sonneman's Fruit Fields in My Blood: Okie Migrants in the |
West; Dan Morgan's Rising in the West; and Michael Wallis’ Route!
66 The Mother Road and Pretty Boy: The Life and Times of Charles
Arthur Floyd.

Contradictory ramantic myths about the westward trek exist side by
side, both having been reconstructed during the 'Revolutionary
Decade' the Thirties, and both reinforcing strands of the American:
origin myths. The Jeffersonian yeoman farmer, owning land and
practicing grass-roots democracy was favored by Steinbeck.
Another was personified in Woody Guthrie's 'Hard Traveling’ image.

The late Wallace Stegner, in his final published book of essays,
identifies the ‘American character’ with trekking: Insofar as the West
as a Civilization at all between the time of Lewis and Clark's
explorations and about 1870, it was largely a civilization in motion, :
driven by dreams, The people who composed and represented it
were part of a true Folk-Wandering, credulous, hopeful, hardy,
largely uninformed, The dreams are not dead even today, and the -
habit of mobility has only been reinforced by time.

Ever since Daniel Boone took his first excursion over Cumberland -
Gap, Americans have been wanderers...With a continent to take
over and Manifest Destiny to goad us, we could not have avoided
being footloose. The initial act of emigration from Europe, an act of!
extreme, deliberate disaffiliation, was the beginning of a national
habit. Although Stegner goes on to lament the down side of
American wanderlust, particularly the destruction of the
environment, he sees trekking as forming the continuing primary
identity of the ‘American.’

Gregory identifies four major themes of the enduring Okie
mythology: 'Plain-folk Americanism'(the original natives, the true
Americans, white supremacist, egalitarian and anti-elitist, cult of
toughness); 'Up from the dust'(a reconstructed Horatio Alger myth _
combined with Biblical persecution and exodus; the work ethic, anti+
welfare}: ‘Special to God’ (evangelical, the chosen people, easily
forgiven for transgression);'The language of a
subculture'{reproducing the oral tradition and the Okie dialect).

Okie mythology is almost sacred and deeply felt, framing an
authentic sub-culture in the United States. Okie writer James
Houston tells how for years he studied classical and flamenco
guitar with considerable success: | was never much good at
sophistication. It runs right against the grain. But | confess that |
have hungered for it...But it took me twenty years of part-time music
life to discover, or rather to quit being ashamed of the fact and
came right out and admit that | love San Antonio Rose’ more. If |
am sitting in a honky tonk when the pedal steel begins to whine the |
opening bars of that song, | have no choice but to surrender. | hear -
a calling in the blood. It launches me. It fills me with unabashed

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Just as the Okie migratory theme was losing basis in reality, as
fewer and fewer Okies followed the crops, country music picked up
the theme making truck drivers the new heroes of the west:

Tough and independent, yet also part of a proud fraternity, the truck
driver synchronized old values with a new context. Part loner, part’
team player, modern and yet still free to roam the wide spaces,
these eighteen-wheel cowboys knew how to manage the machinery
of modern life without losing their independence. It was a symbol
that worked for both old audiences and new.

Nowhere is the popularity of the music more widespread than in the
southern Central Valley, around the country music capitol of
Bakersfield. Radio evangelists compete with country music
stations, preachers with songsters, churches with honky-tonks.

More than anything else, the Okie sub-culture is known for country:
music which burst out of its Southeast and Southwestern
boundaries with their migration to California. Gene Autry who grew:
up in Oklahoma was already a famous radio singer among rural
whites when he went to Hollywood in 1934 and became a national
star. His success spawned other Hollywood country stars-Roy
Rogers (albeit from Ohio), Tex Ritter, Bob Wills, Spade Cooley, and
many others.

By the time Woody Guthrie arrived in Los Angeles in 1937 he easily
found a niche. Ironically, although Guthrie wrote songs almost
exclusively about the misery and struggle of Dust Bow! Okies, his -
songs, other than the apolitical ones, were little known outside Left:
and labor circles in New York where he went in 1940. His music did
inspire the future protest music of Joan Baez and Bob Dylan but
was hardly known in country music circles or to Okies in California :
or the Southwest. As Gerald Haslam writes of Woody Guthrie: '...he
remains far more celebrated in Berkeley's salons than in
Bakersfield's saloons.' Haslam's observation rings true: | never
heard of Woody Guthrie while growing up in Oklahoma, nor had my
parents who lived their entire lives not far from Guthrie's hometown:
of Okemah, As a student at San Francisco State and UC Berkeley
during the early Sixties’; folk revival, my friends found that hard to ~
believe.

The dominant theme of Bakersfield country music was nostalgia fot
home such as, ‘Hillbilly Gal,"; "Some Sweet Home,’; ‘Deep inthe |
Heart of Texas,'; ';By the Silv'sry Rio Grande,'; "Red River Valley,'; :
‘Take Me Back to Tulsa.'; The songs carried, and created, the oral :
tradition of the Okies, and served to maintain the subculture,
especially the language, across generations.

At the height of the antiwar and student protest movement in 1969, .
"Okie from Muskogee’ hit the airwaves and introduced Merle
Haggard, already a star on the country waves, to cross-over super-.
stardom:

Back next

http://www.heartlandreview.net/2003/Q1/dbo2.htm : 12/6/2004
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http://www. heartlandreview.net/2003/Q1/dbo2.htm 12/6/2004
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In This Issue About Us Contact Resources

Vol 1 2003

A Heartland Review Feature

One or Two Things | Know About Us:
Rethinking the Image and Role of the Oakies

cont'd

by Rexanne Dunbar-Ortiz

Although the newspaper report was sketchy about the man's
background, | can almost imagine his life: Possibly the child of
Oklahoma sharecropping parents who migrated to California during
the mid-1930s Dust Bowl, he was born one year after the
publication of The Grapes of Wrath, perhaps in a labor camp in the:
Central Valley. His older brothers and sisters would have been
taunted in school for being ragged, hungry, and dirty; his family was
not allowed in the many places that hung signs that said 'No Okies.’
His parents probably got on their feet during the wartime boom and
soon he could feel superior at least toward the Mexicans and
Blacks because his parents taught him to be proud of being white —
and a native-born American.

He might have grown up te drive a :
truck or work in the ail fields or
construction, but he became a :
California Highway Patrolman. Very
likely he voted for Reagan for
governor, Nixon for president,
served in Vietnam, if not Peoples’
Park, and hailed the presidency of -
Ronald Reagan. But he probably
felt he had nothing to show for it
and his beloved country was going _
to Blacks on welfare, Vietnamese |
boat people, and the feminists and ;
Gays, with him footing the tax bill
when no one had ever helped his
family when they were in need. It's
a common story among the :
descendants of the Dust Bowl refugees.

Roxanne Dunbar-Ortiz

The 'Okies' were more accurately Southwestern for they came not .

only from Oklahoma but also surrounding states. By 1950, four
million people or nearly a quarter of all persons born in Oklahoma,
Texas, Arkansas, or Missouri, lived outside that region. A third of
them settled in California while most of the others moved to
Arizona, New Mexico, Oregon and Washington. The best known
period of this trek westward is the period of the Dust Bowl, the
1930s, when the majority of the migrants first camped, and then

settled mainly in the agricultural valleys of California. During World

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War II many of the Central Valley Dust Bowl migrants moved
nearer the defense plants, particularly around Los Angeles, to work,
while a half-million more Southwestern migrants, dubbed ‘defense :
Okies' arrived for wartime jobs.

To some, Okies and their descendants are bigots who supported
George Wallace, and the Minutemen, the 'litile people’ and ‘silent
majority’ addressed by Ronald Reagan and Richard Nixon,
proponents of anti-abortion and anti-gay initiatives. To some
Marxists, the Okies are petit-bourgeoisie who fall in and out of the ©
owning and working class, unreliable in union struggles. There is
truth in these negative images of the Okie. Depending on economic
times, Okies may be self-employed or reluctantly working for a
bess, but their dream is always to acquire land. A populist tradition
is associated with the Okies, yet often they appear to hate the rich -
only out of envy. Generally hostile to ‘big government' they are in
the vanguard of defending their 'country' Many have been eager
canon fodder, as well as officers, in America's foreign wars. They
believe they are the designated beneficiaries of the theft of land
from Indians and to the booty of empire.

In the end the oniy advantage for most has been the color of their
skin and the white supremacy, particularly toward African-
Americans, that pervades the culture; what they are not (black,
Asian, ‘foreign’) is as important as what they are (white, 'true’
Americans) in their sense of propriety and self-esteem. Novelist
Ken Kesey embraces his Okie identity ambivalently:

| think of myself as an Oakie. Let me tell you what being an Oakie |
means; Being an Oakie means being the first of your whole family :
to finish high school let alone go on to college...Being an Oakie
means getting rooted out of an area and having to hustle for a
toehold in some new area...Being an Oakie means running the risk:
of striving out from under a layer of heartless sonsabitches only to
discover you have become a redneck of bitterness worse than
those you strove against...Being an Oakie is a low rent, aggravating
drag.

The core group of those designated as 'Okies’ are descendants of |
Ulster-Scots colonial settlers. Usually the Ulster-Scots descendants:
say their ancestors came to America from Ireland but their trek was:
more complicated than that. The Ulster-Scots were a people born
and bred of empire. They were Protestant Scottish settlers in the
British colony of Northern Ireland, where the indigenous inhabitants.
were Catholic. During the early 1600s, the British invaded and ,
occupied Ireland, and declared a half-million acres of land in
northern Ireland open to settlement under British protection; these -
settlers who contracted with the devil of early colonialism came
from western Scotland. Scotland itself, along with Wales, had
preceded Ireland as colonial notches in the belt of English
expansion. Scottish farmers had been brutally evicted from the
Highlands to make way for more profitable sheep raising and :
afterwards served the British as colonial settlers and soldiers. The
Puritan policy of exterminating Indians in North America was
similar, Richard Slotkin argues, to the Puritan colonization of Ulster,
‘Where systematic assaults were made on Celtic tribalism, native
bardic myth-historians were forbidden to sing, isolated clans were
exterminated, and the reset of the population was ravaged.

http://www. heartlandreview.net/2003/Q1/dunbar_ortiz.htm 12/6/2004
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Cromwell even attempted to establish a wild Irish reservation in
western Ireland!

By 1630, the British population settled in Ulster was larger than
British settlement in ail North America--21,000 English and 150,000
Lowland Scots. In 1641, the indigenous Irish rebelled and killed ten
thousand settlers. Yet the Scottish settlers continued to pour in with
the largest number arriving between 1690-97. They formed a
majority of the population in some areas from which the indigenous
Irish had been removed, but never the majority of all of Northern
Ireland.

So the Ulster-Scots were already seasoned colonialists before they
filled the ranks of the British settlers to North America. Before ever
meeting American Indians, those Ulster-Scots had perfected
scalping for bounty on their indigenous Irish victims. Later, during -
the early nineteenth century, after the U.S. was independent of
Britain, Irish Catholics would immigrate in the millions, but the
Uister-Scots were another breed—they were the foot soldiers of
empire; the Ulster-Scots and their progeny formed the shock troops
of the ‘westward movement,' that is, empire. By the time of US. |
independence, Scots, mainly Ulster-Scots, made up around one-
sixth of the population and in some areas such as Pennsylvania, a.
third. Ulster-Scots immigration represented a mass movement
between 1720 and the War of Independence. They constituted
communities on the frontier where they predominated. By the time |
of the French-Indian war of 1754-63, the British armies were largely
made up of Ulster-Scots. During the War of Independence, most
Scottish settlers~Lowlander and Highlander, old and newcomers-- :
remained loyal to the British Crown. However, the Ulster-Scots __
were in the forefront of independence and provided the backbone |
of Washington's fighting forces. During the last two decades of the.
sighteenth century, first and second generation Ulster-Scots
continued to move westward into the Ohio Valley, West Virginia,
Kentucky, and Tennessee. Indeed, they were the predominant
element in the westward moving population stream maintaining
many of the Scottish ways. Ulster-Scots were overwhelmingly
frontier settlers rather than scouts, explorers, fur traders. They
cleared forests, built log cabins, killed Indians, forming a wall of
protection for the new U.S., and during times of war, they employed
their fighting skills effectively.

They restlessty moved three or four time before settling at least
semi-permanently. Although the majority of Ulster-Scots settlers
were very poor, many unable to pay their passage to North America
and had to indenture themselves, once settled they came to
predominate, not only as soldier-settlers, but also in the fields of
medicine, religion, and education. Perhaps most importantly, by the
end of the eighteenth century, the Scottish Presbyterian church wa$
the largest, strongest and most influential church next to the New
England Congregationalist Church. And Ulster-Scots dominated the
Great Awakening. Carl Degler writes that these hardy, God-fearing
Calvinists made themselves into a veritable human shield of ,
colonia civilization.’

In Richard Slotkin's mammoth trilogy on the American frontier, he
finds the origin and reproduction of U.S. mythical-nationalism in the:
late eighteenth-century treks of settlers over the

http://www.heartlandreview.net/2003/Q1/dunbar_ortiz.htm . 12/6/2004
Appalachian/Allegheny spine. Although Slotkin does not connect |
the myth-making with the Ulster-Scots covenant ideology, his thesi¢
would appear to support the linkage.

It was the figure of Daniel Boone, the solitary, Indian-like hunter of
the deep woods, that became the most significant, most :
emotionally compelling myth-hero of the early republic. The other -
myth-figures are reflections or variations of this basic type...The
figure and the myth- narrative that emerged from the early Boone |
literature became archetypal for the American literature which
followed: an American hero is the lover of the spirit of the
wilderness, and his acts of love and sacred affirmation are acts of
violence against that spirit and her avatars. Indeed it is rare even
today to meet an Okie or any other descendant of the trekking
culture who dees not identify Daniel Boone as a direct ancestor,
including my own family.

Slotkin finds several ‘types’ within the universal Boone archetype
hero: 'New versions of the hero emerged, characters whose role
was that of mediating between civilization and savagery, white and:
red. The yeoman farmer was one of these types, as were the
explorer or surveyor and later, the naturalist.' Slotkin observes that |
later writers, notably James Fenimore Cooper, could remove the
Boone story from its original context and use it to express their
visions of the trek. Thereby the Boone archetype grew and
changed with the development of American culture. However, the
original myth, based on ‘a series of associations which connect
agronomy with utopia, indian wars with the establishment of empire!
remains intact.

In the twentieth century reformulation of the archetype, promoted
notably in the writings of Theodore Roosevelt and, of course,
western novels and films, Slotkin finds the ‘hunter’ and the ‘farmer,':
or ‘breeder,’ and especially ‘the man who knows Indians.' This latter
requirement, ‘the man who knows Indians’ is complex. Most Okies
and other trekkers claim 'Indian blood,’ although their white
supremacy is unshaken in the face of culturally-identified Native
Americans.

In Cooper's Last of the Mohicans (released as a major film in 1992
at the five-hundred year anniversary of Columbus first voyage), the
‘last Indian’ hands over the country to Hawkeye, the Boone-type
character, making the settlers the authentic inheritors of the land.
Will Rogers, albeit an enrolied Cherokee with a land allotment, was -
cuiturally more Okie than Indian. His first entertainment act was a
‘wild west’ show in which he used the nickname, 'The Cherokee
Kid.' Rogers was most popular with rural whites and is practically a -
cult figure among them today, while Native Americans do not claim -
him.

Many descendants of the Uister-Scots trekked from Kentucky and
Tennessee to Missouri and Arkansas, and then moved on to
Oklahoma during the late nineteenth and early twentieth centuries.
Breaking every treaty with the indians, the federal government
allowed the settlers to overrun Oklahoma and Indian Territories.

Millions of landless farmers made the ‘run’ to stake their claims, but:

only a fraction acquired land or held on to it. In 1898, the Oklahoma
settlers showed their appreciation--a third of Teddy Roosevelt's

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‘Rough Riders’ that invaded Cuba were recruited fram Oklahoma !
Territory. But Oklahoma was where the American dream had comé
to a halt, the end of the frontier.

For nearly three hundred years, the British and then the U.S.
empire had offered free or cheap jand to Anglo and Ulster-Scots, |
then Irish, German, and Scandinavian, then Polish and Czech
peasants. If a farming family fell on bad times or wanted to have
greater opportunity, they picked up and moved on, homesteading ©
newly ‘opened territory. By 1880, all the arable land of the
continent was owned—mostly large operators--and millions were
landless.

While many poured into the cities to work, most stayed in rural
areas as tenants, sharecroppers, migrant farm workers, cow
punchers, and miners. Ckies and other descendanis of the Ulster-
Scots migrations do not think of themselves as foot soldiers of
empire, nor is that the image of them that dominates the popular _
imagination. They believe they are the true native-born Americans,
the personification of what America is supposed to be. From their
perceived ancestor, Daniel Boone, to Steinbeck's fictional Tom
Joad, they are pure men of nature who are victims of bankers and
other slick operators, and surrounded by red and brown and black -
and Jewish enemies, who they believe have hijacked their beloved’
country.

Oscar Ameringer, a native of Kansas, became the Socialist Party
organizer in Oklahoma in 1907. He was doubtful about organizing
farmers: ‘Farmers were not wage earners. They were capitalists,
exploiting wage labor. They owned the means of production. They .
had a great deal more to lose than their chains.'

Ameringer soon changed his mind. In his autobiography he wrote of
speaking in Harrah, a small farming community eighty miles east of!
Oklahoma City: The meeting was in a one-room schoolhouse,
unpainted on the outside, unsealed on the inside...Babies were
sleeping on the speaker's platform. More babies slept, nursed, or
cried on the breasts of their mothers, uncomfortably wedged into
school seats designed for ten-year-olds. All were wretchedly
dressed: faded blue jeans for the men; faded Mother Hubbards and
poke bonnets for the women. These people had trudged in soaking.
rain, or come in open wagons or on horseback or muleback, to hear
a socialist speech--and they were farmers! This indescribable
aggregation of moisture, steam, dirt, rags, unshaven men, slatternly
women and fretting children were farmers! | had come upon
another America.,.No question but these people were American
farmers, but not the kind | had known in the Pickaway plains of
Ohio. These people occupied an even lower level of existence than:
the white and black 'water rats' of New Orleans.

Between 1906-1917, the Wobblies and the Socialist Party won
converts on a mass scale in Oklahoma. They adopted the religious
evangelist technique—indeed many evangelists were themselves
converts fo socialism-of holding huge week-long encampments with:
speakers, usually near small towns. Socialists were elected as local:
Officials and the lamp posts of many towns were hung with red
flags. In 1915 alone, 205 of the mass encampments were held. The:
Socialists never won a statewide race in Oklahoma but their :

http://www. heartlandreview.net/2003/Q1/dunbar_ortiz.htm 12/6/2004
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percentage increased from 1907 to 1914 from six to sixteen percerit
voting for the Socialist Party candidate, Eugene Debs. In 1914, the:
Socialist candidate for governor won 21 percent of the vote and
they won five Congressional and one Senate seat, along with a
majority of iocal offices. This phenomena was occurring in the
State's Indian and African-American communities as well as the
white ones.

The U.S. entrance into the European war in 1917 produced a wave
of patriotism and a brutal backlash against the (all antiwar} :
Socialists in Oklahoma. In particular, the foreign born German and
Czech farmers were persecuted in western Oklahoma. Fiery
crosses burned ail over the state, and the ranks and resources of
the Ku Klux Klan burgeoned.

| began rethinking the role of Okie migrants in California in late April
1992, when a nearly all-white (ten out of twelve, with one Latina
and one Asian) jury in Southern California found Los Angeles
Police Department officers innocent in the videotaped beating of
Rodney King the year before. My first thought on hearing the
verdict was the same one as when | read about the change of
venue from Los Angeles County to Ventura County, particularly
Simi Valley: What do you expect in Simi Valley? It's an Okie town
and the cops come from there. Why do you think Ronald Reagan
built his presidential library there?

A large number of Simi Valley homeowners are second and third
generation Dust Bowl and Defense Okie refugees, the ones who
made it. Yet 1 noticed that none of the plethora of news reports
mentioned the fact--they would point out that Simi Valley was
virtually all white and was a favored suburb for LA cops to buy
homes, without mentioning that many of those cops had grown up
there, or in other Ventura County and Central Valley towns. Even
Mike Davis's City of Quartz does not mention the Okie migration or
break down the ethnic composition of the eccentric LA police
department--he uses generic ‘predominately white.’

Yet Okie migrants were perceived as left-populists during the
1930s, and the U.S. Communist Party focused on organizing the
farm laborers. This was the decade when a general strike shut
down San Francisco, vigilantes attacked union organizers in the
Central Valley, and the Red Squad hunted Communist in Los
Angeles. Wiil Rogers, the most famous entertainer of the time, an.
Oklahoman transplanted to Hollywood, supported socialist-author
Upton Sinclair in his run for governor of California: ‘a darn nice
fellow, and just plum smart, and if he could deliver even some of
the things he promises, should not only be governor of one state,
but president of all of 'em.'

Upton Sinclair swept the Democratic primary for governor of
California in 1934, shaking up the long-entrenched elite with the
prospect of a socialist governor of the nation's most volatile state,
sparking a revolution in American politics. Sinclair's grass-roots
support came mainly from hundreds of thousands of dust-bowl
refugees. The New York Times noted that it was ‘the first serious
movement against the profit system in the United States.' And even:
though Sinclair lost the election, Mitchell points out, the campaign
and its grass-roots support, mainly the hundreds of thousands of

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dust-bowl refugees, radicalized a whole generation of activists,
many of them artists, performers, intellectuals, and writers.

Back next

Pome Mi Top

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http://www. heartlandreview.net/2003/Q1/dunbar_ortiz.htm 12/6/2004
